Case O:OB-cV-60985-.].]O Document 264-3 Entered on FLSD Docket 06/01/2007 P'age 1 of 4

EXhibit 4

 

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UNITED sTATES DISTRICT coURT
soUTHERN DISTRICT 01= FLoRtoA

CASE NO. 05-60985~CIV-Graham/O’Sullivan
ULYSSES J. HUDSON,
Plaintiff,
v.
MICHAEL CHERTOFF,
as Secreta;ry of the United States

Department of Homeland Security,

Def`endant.
/

DECLARATION OF MARK J. BERKOWITZ, ESQ. IN SUPPORT OF PLAINTIFF’S
YERIFIED MOTION FOR AWARP OF ATTORNEY’S FEES AND COSTS

I, Mark J. Berkowitz, declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that
to the best of my knowledge, the following is true and correct

l. l have personal knowledge of the facts set forth below, and if called as a witness, I
am competent to and would testify as follows.

d 2. l submit this declaration iu support of the Veriiied Motion for Award of
Attorneys’ Fees and Costs (“Veriiied Motion”) submitted in this matter on behalf of Plaintift`,
Ulysses J. I-Iudson (“Mr. Hudson").

3. l am principal shareholder of Mark J'. Berkow.itz P.A. in Ft. .Lauderdale. l have
practiced law for more than 20 years, focusing primarily on employment law.

4. Prior to filing this lawsuit, Mr. Hudson filed Case No. 02~2394 with the Equal
Employment Opportunity Commission (“EEOC Proc-eeding 02-2394) alleging harassment by his
boss, Kimberly DuH`, and challenging his transfer back to Mi ami by Det`endant.

5 . ln 0ctober 2002, Mr. I-Iudson retained me for legal services related to EEOC

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CASE NO. 05-60985-CIV-Graham/O’Sullivan

Proceeding 02-2394.

6. I did not retain a copy of my fee records in EEOC Proceeding 02-2394, but
hereby attest that l was paid $1,000 for my services relating to that matter. For approximately
l_ hours in November 2002, I spent time with Mr. I-Iudson at my ofiices strategizing Mr.
Hudson's case and assisting Mr. Hudson With the drafting of an affidavit detailing his

allegations At the time, I charged about $ 4 aaa for my services.

Executed on Mayai§a'Z'O(W. `

Mark J. Bcr itz

DECLARATION
l hereby declare under penalty of perjury that the foregoing is true and correct to the best

of my knowledge

Executed on this,’_Lz§‘day ofMay 2007 .

 

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CASE NO. 05-60985-CIV-Graharn/O’Sullivan

CERTIFICATE GF SERVICE
I hereby certify that on June 1, 2007, I electronically filed the foregoing document

With the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being
served this day on all counsel of record identiiied on the attached Scrvicc List in thc manner
specit`led, either via transmission of Notices of Electronic Filing generated by CM/ECF or in
some other authorized manner for those counsel or parties who are not authorized to receive
electronically Notices of Electronic Filjng.

s/ .Tason Kellogg
Jason Kellogg

 

SERVICE LIST
Hudson v. Chertoff
Cusc No. 05-60985-Civ-Grabam/O’Sullivan
United States District Court, Southern District of Florida

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Attorneys for Defendant Michael Chertoff

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